Case 2:19-Cv-O2GN TED STATES DISTRICT COGRT, CENTRAL DISTRICT OF CMGFORMIAS Page ID #:19

 

CIVIL COVER SHEET
I. (a) PLAINTIFFS ( Check box if you are representing yourself [_] ) DEFENDANTS = ( Check box if you are representing yourself [_] )
Lee Wigod, individually and on behalf of all others similarly situated CallFire, Inc.

 

(b) County of Residence of First Listed Plaintiff Cook County, IL County of Residence of First Listed Defendant

 

(EXCEPT IN U.S, PLAINTIFF CASES) (IN U.S. PLAINTIFF CASES ONLY)
(c) Attorneys (Firm Name, Address and Telephone Number) If you are Attorneys (Firm Name, Address and Telephone Number) If you are
representing yourself, provide the same information. representing yourself, provide the same information.

Aaron D. Aftergood (SBN 239853), aaron@aftergoodesq.com 1880 Century Park
East, Suite 200 Los Angeles, California 90067, Telephone: (310) 551-5221

 

 

Il. BASIS OF JURISDICTION (Place an X in one box only.) Ill. CITIZENSHIP OF PRINCIPAL PARTIES-For Diversity Cases Only
(Place an X in one box for plaintiff and one for defendant)
PTI DEF os PTF DEF
1.U.S. Government 3. Federal Question (U.S. Citizen of This State Oi gi Incorporated or Principal Place oO4o4
Plaintiff x Government Not a Party) of Business in this State

Citizen of Another State [7] 2 [[] 2 Incorporated and Principal Place O15 05
of Business in Another State

 

 

2. U.S. Government CT] 4. Diversity (Indicate Citizenship |Citizen or Subject of a : .
. Foreign Nation 6 6
Defendant of Parties in Item III} Foreign Country O3 O03 9 O O
IV. ORIGIN (Place an X in one box only.) ceri steer
1. Original 2. Removed from O 3. Remanded from O 4, Reinstated or O 5. Transferred from Another Oo 6. ihigation O 8. Iitgetion
Proceeding State Court Appellate Court Reopened District (Specify) Transfer Direct File

 

V. REQUESTED IN COMPLAINT: JURY DEMAND: [x] Yes [-] No (Check "Yes" only if demanded in complaint.)

CLASS ACTION under F.R.Cv.P. 23: [x]Yes [_]No [_] MONEY DEMANDED IN COMPLAINT: $

VI. CAUSE OF ACTION (Cite the U.S. Civil Statute under which you are filing and write a brief statement of cause. Do not cite jurisdictional statutes unless diversity.)
47 U.S.C. 227, et seq.

 

 

VII. NATURE OF SUIT (Place an X in one box only).

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

OTHER STATUTES CONTRACT REAL PROPERTY CONT. IMMIGRATION PRISONER PETITIONS PROPERTY RIGHTS
[C] 375 False Claims Act [_] 110 Insurance [_] 240 Torts to Land Oo Aeplaation eon Habeas Corpus: _] 820 Copyrights
icati
. . 245 Tort Product 463 Alien Detainee
q 376 Qui Tam [_] 120 Marine oO Liability 465 Other 5 510 Motions to Vacate [_] 830 Patent .
130 Miller Act 290 All OtherReal |C1 Immigration Actions Sentence 835 Patent - Abbreviated
| ae
Oo 400 State 140 Negotiable Property TORTS [_] 530 General New Drug Application
Reapportionment C1 instrument TORTS PERSONAL PROPERTY |[_] 535 Death Penalty (J 840 Trademark
[] 410 Antitrust bo Recovery of TE INJURY [] 370 Other Fraud Other: SOCIAL SECURITY
: erpaymen irplane
[1 430 Banks and Banking |[_] Enforcement of 315 Airplane (1) 371 Truth in Lending |] 540 Mandamus/Other L] 861 HIA (1395ff)
oO Revereenercesicc Judgment oO Product Liability q 380 Other Personal LJ 550 Civil Rights [] 862 Black Lung (923)
[1] 460 Deportation [] 151 Medicare Act oO an Assault, Libel & Property Damage oO 555 Prison Condition [_] 863 DIWC/DIWW (405 (g))
ander : .
Or gopeatente |p saeco Hired emdow (C1 MECCA Sogutmegeee |C] sassonseny
480 C Credit Loan (Excl. Vet.) babilty BANKRUPTCY Confinement L] 865 RSI (405 (g))
O onsumer Creait L] 340 Marine FORFEITURE/PENALTY
] 490 Cable/Sat TV 153 Recovery of ; 422 Appeal 28 FEDERAL TAX SUITS
345 Marine Product |] USC 158
850 Securities/Com- O Vet Benefits tof (0 Liability hd | O Seizure of Property a |O 870 Taxes (U.S. Plaintiff or
ve + 423 Withdrawal 28
LI modities/Exchange ; 350 Motor Vehicle |L] Yscis7 USC 881 Defendant)
oO 160 Stockholders ' 690 Oth oO 871 IRS-Third Party 26 USC
390 Other Statutory Suits Oo Product Liability CIVIL RIGHTS O er 7609
ctions uct Liabill pe
. 190 Other 360 Other P | {C1 440 Other Civil Rights LABOR
O aoa ane O Contract CO Injury ermersona [1 441 Voting oO no Fair Labor Standards|
Cc nvironmenta 195 Contract 362 Personal Injury- c
Matters dom of inf CI product Liability |L] Med Malpratice L] 442 Employment [[] 720 Labor/Mgmt.
895 Freedom of Info. . jurv- 443 Housing/ Relations
OO act [] 196 Franchise oO 365 Personal Injury- |[] ‘a--ommodations ;
Product Liability [_] 740 Railway Labor Act
[] 896 Arbitration REAL PROPERTY 367 Health Care/ 445 American with : :
[1] 210 Land [1] Pharmaceutical [] Disabilities- oO 751 Family and Medical
899 Admin. Procedures Condemnation Personal Injury Employment Leave Act
 Act/Review of Appeal of Product Liabili 446 American with 790 Other Labor
[[] 220 Foreclosure ty Oo oO
Agency Decision 368 Asbestos Disabilities-Other Litigation
Oo 950 Constitutionality of Oo 230 RentLease& |[] personal Injury [1] 448 Education oO 791 Employee Ret. Inc.
State Statutes Ejectment Product Liability Security Act

 

 

 

 

 

 

FOR OFFICE USE ONLY: Case Number:
CV-71 (05/17) CIVIL COVER SHEET Page 1 of 3

 
Case 2:19-Cv-O2GN TED STATES DISTRICT COGRT, CENTRAL DISTRICT OF CMGFORMIAS Page ID #:20

CIVIL COVER SHEET

VIII. VENUE: Your answers to the questions below will determine the division of the Court to which this case will be initially assigned. This initial assignment is subject
to change, in accordance with the Court's General Orders, upon review by the Court of your Complaint or Notice of Removal.

 

QUESTION A: Was this case removed
from state court?

[] Yes [x] No

If "no, " skip to Question B. If "yes," check the
box to the right that applies, enter the
corresponding division in response to
Question E, below, and continue from there.

STATE CASE WAS PENDING IN THE COUNTY OF:

INITIAL DIVISION IN CACD IS:

 

 

 

[_] Los Angeles, Ventura, Santa Barbara, or San Luis Obispo Western
[] Orange Southern
L_] Riverside or San Bernardino Eastern

 

 

 

QUESTION B: Is the United States, or
one of its agencies or employees, a
PLAINTIFF in this action?

L] Yes [x] No

If "no," skip to Question C. If "yes," answer
Question B.1, at right.

B.1. Do 50% or more of the defendants who reside in
the district reside in Orange Co.?

—

check one of the boxes to the right

YES. Your case will initially be assigned to the Southern Division.
Enter "Southern" in response to Question E, below, and continue
from there.

 

NO. Continue to Question B.2.

 

B.2. Do 50% or more of the defendants who reside in
the district reside in Riverside and/or San Bernardino
Counties? (Consider the two counties together.)

check one of the boxes to the right

—>

YES. Your case will initially be assigned to the Eastern Division.
Enter "Eastern" in response to Question E, below, and continue
from there.

 

NO. Your case will initially be assigned to the Western Division.
Enter "Western" in response to Question E, below, and continue
from there.

 

 

QUESTION C: Is the United States, or
one of its agencies or employees, a
DEFENDANT in this action?

L] Yes [x] No

If "no, " skip to Question D. If "yes," answer
Question C.1, at right.

C.1. Do 50% or more of the plaintiffs who reside in the
district reside in Orange Co.?

—>

check one of the boxes to the right

YES. Your case will initially be assigned to the Southern Division.
Enter "Southern" in response to Question E, below, and continue
from there.

 

NO. Continue to Question C.2.

 

 

C.2. Do 50% or more of the plaintiffs who reside in the
district reside in Riverside and/or San Bernardino
Counties? (Consider the two counties together.)

—

check one of the boxes to the right

YES. Your case will initially be assigned to the Eastern Division.
Enter "Eastern" in response to Question E, below, and continue
from there.

 

 

NO. Your case will initially be assigned to the Western Division.

 

 

 

 

 

 

[_] Enter "Western" in response to Question E, below, and continue
from there.
A. B. c.
, Ah Riverside or San Los Angeles, Ventura
. ? fi iv
QUESTION D: Location of plaintiffs and defendants? Orange County Bemardino County | Santa Barbara, or San
Luis Obispo County
Indicate the location(s) in which 50% or more of plaintiffs who reside in this district Cc Cc Cc
reside. (Check up to two boxes, or leave blank if none of these choices apply.)
Indicate the location(s) in which 50% or more of defendants who reside in this
district teside. (Check up to two boxes, or leave blank if none of these choices | LJ
apply.

 

 

D.1. Is there at least one answer in Column A?

Yes

If "yes," your case will initially be assigned to the
SOUTHERN DIVISION.
Enter "Southern" in response to Question E, below, and continue from there.

If "no," go to question D2 to the right.

[x] No

—>

D.2. Is there at least one answer in Column B?

[_] Yes No

If "yes," your case will initially be assigned to the

EASTERN DIVISION.

Enter "Eastern" in response to Question E, below.

If "no,” your case will be assigned to the WESTERN DIVISION.

Enter "Western" in response to Question E, below.

 

QUESTION E: Initial Division?

INITIAL DIVISION IN CACD

 

Enter the initial division determined by Question A, B,C, or D above: ma

WESTERN

 

 

QUESTION F: Northern Counties?

 

 

Do 50% or more of plaintiffs or defendants in this district reside in Ventura, Santa Barbara, or San Luis Obispo counties?

[_] Yes No

 

CV-71 (05/17)

CIVIL COVER SHEET

Page 2 of 3

 
Case 2:19-Cv-O2GN TED STATES DISTRICT COGRT, CENTRAL DISTRICT OF CMGFORMIAS Page ID #:21

CIVIL COVER SHEET

IX(a). IDENTICAL CASES: Has this action been previously filed in this court? NO [] YES

If yes, list case number(s):

 

IX(b). RELATED CASES: Is this case related (as defined below) to any civil or criminal case(s) previously filed in this court?

If yes, list case number(s):

NO [] YES

 

Civil cases are related when they (check all that apply):

[_] A. Arise from the same or a closely related transaction, happening, or event;

[_] B. Call for determination of the same or substantially related or similar questions of law and fact; or

[_] C. For other reasons would entail substantial duplication of labor if heard by different judges.

Note: That cases may involve the same patent, trademark, or copyright is not, in itself, sufficient to deem cases related.

A civil forfeiture case and a criminal case are related when they (check all that apply):

[_] A. Arise from the same or a closely related transaction, happening, or event;

[_] B. Call for determination of the same or substantially related or similar questions of law and fact; or

C. Involve one or more defendants from the criminal case in common and would entail substantial duplication of
labor if heard by different judges.

 

X. SIGNATURE OF ATTORNEY

(OR SELF-REPRESENTED LITIGANT): /S/ Aaron Aftergood DATE: 04/15/2019

Notice to Counsel/Parties: The submission of this Civil Cover Sheet is required by Local Rule 3-1. This Form CV-71 and the information contained herein
neither replaces nor supplements the filing and service of pleadings or other papers as required by law, except as provided by local rules of court. For
more detailed instructions, see separate instruction sheet (CV-071A).

 

 

Key to Statistical codes relating to Social Security Cases:

Nature of Suit Code

861

862

863

863

864

865

HIA

BL

DIWC

DIWW

SsID

RSI

Abbreviation

Substantive Statement of Cause of Action
All claims for health insurance benefits (Medicare) under Title 18, Part A, of the Social Security Act, as amended. Also,
include claims by hospitals, skilled nursing facilities, etc., for certification as providers of services under the program.
(42 U.S.C, 1935FF(b))

All claims for "Black Lung" benefits under Title 4, Part B, of the Federal Coal Mine Health and Safety Act of 1969. (30 U.S.C.
923)

All claims filed by insured workers for disability insurance benefits under Title 2 of the Social Security Act, as amended; plus
all claims filed for child's insurance benefits based on disability. (42 U.S.C. 405 (g))

All claims filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Security Act, as
amended. (42 U.S.C. 405 (g))

All claims for supplemental security income payments based upon disability filed under Title 16 of the Social Security Act, as
amended.

All claims for retirement (old age) and survivors benefits under Title 2 of the Social Security Act, as amended.
(42 U.S.C. 405 (g))

 

CV-71 (05/17)

CIVIL COVER SHEET Page 3 of 3
